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October 15, 2020                                                      Patrick T. Roath
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BY ECF

Honorable Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, MA 02210

Re:    Soneeya v. Mici, Civ. Action No. 07-cv-12325-DPW

Dear Judge Woodlock,

        I write on behalf of my client Katheena Soneeya, the plaintiff in the above-captioned matter.
During closing arguments on May 14, 2020, the Court expressed interest in receiving an update if
and when the United States Supreme Court acted on the Idaho Department of Correction’s and
certain individuals’ in their official capacities (“Petitioners”) petition for a writ of certiorari with
respect to the Ninth Circuit’s ruling in Edmo v. Corizon, Inc., 935 F.3d 757 (9th Cir. 2019), petition
for cert. filed, No. 19-1280 (U.S. May 12, 2020). I write briefly to provide the Court with a
material update in that matter.

        On October 13, 2020, the Supreme Court denied the petition. Idaho Dep’t. Corr. v. Edmo,
No. 19-1280, 2020 WL 6037411, at *1 (U.S. Oct. 13, 2020). Justice Alito, joined by Justice
Thomas, noted a dissent from the denial, stating that he would have held that “the case is moot” and
would have “direct[ed] that the decision below be vacated.” Id. The Supreme Court previously
denied Petitioners’ application to stay the Ninth Circuit’s ruling. Idaho Dep’t. Corr. v. Edmo, 140
S. Ct. 2800, 2800 (May 21, 2020). As a result, according to Supreme Court filings, Ms. Edmo had
gender confirmation surgery on July 10, 2020 and is serving the remainder of her sentence at a
woman’s prison. See Reply in Support of Suggestion of Mootness at 3, 4 n.1, Idaho Dep’t. Corr. v.
Edmo, No. 19-1280 (U.S. Sept. 11, 2020).

       Ms. Soneeya remains incarcerated without access to gender confirmation surgery in an all-
male facility, and appreciates the Court’s ongoing attention to this matter.

Sincerely,

/s/ Patrick Roath
Patrick T. Roath, Esq.



cc:    ECF Counsel of Record
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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).


Dated: October 15, 2020                                             /s/ Patrick Roath
                                                                    Patrick Roath
